     i~ Case 2:18-cr-00769-CJC Document 125 Filed 10/25/21 Page 1 of 2 Page ID #:814


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                  IN THE UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                             Case No. 18-CR-0769-CJC - a
       UNITED STATES OF AMERICA,
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                         Plaintiff,
14                                             ORDER OF DETENTION AFTER
                    v.                         HEARING (Fed.R.Crim.P. 32.1(a)(6)
15                                             Allegations of Violations of
       JOSE LUIS MIRANDA,                      Probation/Supervised Release
16                                             Conditions)
                         Defendant.
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            On arrest warrant issued by a United States District Court involving alleged
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      violations of conditions of probation or Supervised Release,
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            The Court finds no condition or combination of conditions that will
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      reasonably assure:
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            ~      the appearance of defendant as required; andlor
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            ❑      the safety of any person or the community.
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      Case 2:18-cr-00769-CJC Document 125 Filed 10/25/21 Page 2 of 2 Page ID #:815



 1         The Court concludes:

 2         D Defendant poses a risk of nonappearance, and the Court finds that

 3         defendant has not demonstrated by clear and convincing evidence that

 4         he/she does not pose such a risk. The risk of nonappearance is based on:

 5         unknown background information; lack of bail resources; instant allegations

 6         ❑
           X Defendant poses a danger to the community, and the Court finds that

 7        defendant has not demonstrated by clear and convincing evidence that he

 8        does not pose such a risk. The risk of danger is based on: instant allegations;

 9        criminal history; new law enforcement contact on supervision

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11        IT IS THEREFORE ORDERED that the defendant be detained.

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     Dated: 10/25/2021
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                                          HON. ROZELLA A. OLIVER
15                                        UNITED STATES MAGISTRATE JUDGE
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